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       UNITED STATES DISTRICT COURT DISTRICT OF MARYLAND
                       NORTHERN DIVISION

 In the Matter of the Petition

                of

 GRACE OCEAN PRIVATE LIMITED, as                     Docket No. 1:24-cv-00941-JKB
 Owner of the M/V DALI,
                                                           IN ADMIRALTY
                and

 SYNERGY MARINE PTE LTD, as Manager
 of the M/V DALI,

 for Exoneration from or Limitation of Liability.


 ANSWER OF CLAIMANTS MSC MEDITERRANEAN SHIPPING COMPANY S.A.
  AND MSC MEDITERRANEAN SHIPPING COMPANY HOLDING S.A. TO THE
   PETITION FOR EXONERATION FROM OR LIMITATION OF LIABILITY

       Claimants MSC Mediterranean Shipping Company S.A. and MSC Mediterranean

Shipping Company Holding S.A. (collectively, “Claimants” ), with respect to their property

onboard the M/V DALI that was insured by TT Club Mutual Insurance Ltd. (“TT Club”), by

and through their attorneys, Donovan & Rainie, LLC and Brown Gavalas & Fromm LLP (Pro

Hac Motions to be filed), as and for its Answer to the Petition for Exoneration from or

Limitation of Liability (the “Petition”) of GRACE OCEAN PRIVATE LIMITED (“Grace”) and

SYNERGY MARINE PTE LTD (“Synergy”) (together “Petitioners”), pursuant to Supplemental

Rule F(5) and other Rules of the Federal Rules of Civil Procedure, hereby states, upon

information and belief, as follows:

       1.      The allegations contained in paragraph “1” of the Petition consist of legal

conclusions to which no response is required. To the extent that a response is deemed necessary,

Claimants deny the allegations contained in paragraph “1”.

       2.      The allegations contained in paragraph “2” of the Petition consist of legal

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 conclusions to which no response is required. To the extent that a response is deemed necessary,

 Claimants deny the allegations contained in paragraph “2”.

         3.         Claimants admit that Grace was the registered owner of the M/V DALI, but

 except as so admitted, Claimants lack knowledge or information sufficient to form a belief as

 to the truth of the remaining allegations contained in paragraph “3” of the Petition.

         4.         Claimants admit that Synergy allegedly managed the M/V DALI during the

 relevant periods mentioned, but except as so admitted, Claimants lack knowledge or information

 sufficient to form a belief as to the truth of the remaining allegations contained in paragraph “4”

 of the Petition.

         5.         Claimants lack knowledge or information sufficient to form a belief as to the truth

 of the allegations contained in paragraph “5” of the Petition.

         6.         Claimants admit that the Francis Scott Key Bridge (“Key Bridge”) was a 1.6-mile

span over the Patapsco River at the outer crossing of the Baltimore Harbor, but except as so

admitted, Claimants lack knowledge or information sufficient to form a belief as to the truth of the

remaining allegations contained in paragraph “6” of the Petition.

         7.         Claimants lack knowledge or information sufficient to form a belief as to the truth

 of the allegations contained in paragraph “7” of the Petition.

         8.         Claimants lack knowledge or information sufficient to form a belief as to the truth

 of the allegations contained in paragraph “8” of the Petition.

         9.         Claimants lack knowledge or information sufficient to form a belief as to the truth

 of the allegations contained in paragraph “9” of the Petition.

         10.        Claimants admit that, at or about 1:29 am eastern daylight time on March 26,

 2024, the M/V DALI allided with the Key Bridge.

         11.        Claimants admit that, as a result of the allision, containers carried aboard the

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M/V DALI were damaged and/or lost, but except as so admitted, Claimants lack knowledge or

information sufficient to form a belief as to the truth of the allegations contained in paragraph

“11” of the Petition.

       12.     Claimants lack knowledge or information sufficient to form a belief as to the truth

of the allegations contained in paragraph “12” of the Petition.

       13.     Claimants deny the allegations contained in paragraph “13” of the Petition.

       14.     Claimants deny the allegations contained in paragraph “14” of the Petition.

       15.     Claimants lack knowledge or information sufficient to form a belief as to the truth

of the allegations contained in paragraph “15” of the Petition.

       16.     Claimants lack knowledge or information sufficient to form a belief as to the truth

of the allegations contained in paragraph “16” of the Petition.

       17.     Claimants lack knowledge or information sufficient to form a belief as to the truth

of the allegations contained in paragraph “17” of the Petition.

       18.     Claimants lack knowledge or information sufficient to form a belief as to the truth

of the allegations contained in paragraph “18” of the Petition.

       19.     Claimants lack knowledge or information sufficient to form a belief as to the truth

of the allegations contained in paragraph “19” of the Petition.

       20.     Claimants admit that Petitioners have offered an Interim Stipulation of Value in

the amount of $43,670,000 and that the Interim Stipulation is substantially less than the amount

that will be claimed for losses and damages arising out of the M/V DALI’s allision with the Key

Bridge, but except as so admitted, Claimants lack knowledge or information sufficient to form a

belief as to the truth of the allegations contained in paragraph “20” of the Petition.

       21.     Claimants lack knowledge or information sufficient to form a belief as to the truth

of the allegations contained in paragraph “21” of the Petition.

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         22.     The allegations contained in paragraph “22” of the Petition consist of legal

 conclusions to which no response is required. To the extent that a response is deemed necessary,

 Claimants deny the allegations contained in paragraph “22”.

         23.     Claimants deny the allegations contained in paragraph “23” of the Petition.

         24.     Claimants denies the allegations contained in paragraph “24” of the Petition.

                       AS AND FOR A FIRST AFFIRMATIVE DEFENSE

         The Petition fails to state a claim upon which relief can be granted.

                     AS AND FOR A SECOND AFFIRMATIVE DEFENSE

         The events culminating in the damages and losses sustained by Claimants were not the

 result of any negligence, fault, or want of due care on the part of Claimants.

                      AS AND FOR A THIRD AFFIRMATIVE DEFENSE

         The amount of security posted by the Petitioners or on their behalf in this limitation

 proceeding is neither sufficient nor adequate to properly discharge Petitioners’ liabilities and

 obligations, nor does it reflect the correct values required by law. This Court should, therefore,

 strike the Petition or, failing that, order Petitioners to submit their interests in the M/V DALI and

 other property for re-evaluation and thereafter direct that Petitioners file security in an increased

 amount to cover the claims herein.

                           ADDITIONAL AFFIRMATIVE DEFENSES

       Claimants reserve the right to assert any additional defenses that become apparent during

the course of discovery, including but not limited to, the right to challenge Petitioners’ right to

exoneration from or limitation of liability pursuant to the Limitation Act, 46 U.S.C. § 30501, et

seq.

       WHEREFORE, Claimants pray that:

         1.    The Petition herein for Exoneration from or Limitation of Liability be dismissed;

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         2.    Or, in the alternative, Petitioners must post additional financial security sufficient

to discharge and secure the Petitioners’ liabilities and obligations to the Claimant herein and the

other Claimants;

         3.    Or, in the alternative, Petitioners must post additional financial security sufficient

to reflect the actual value of the M/V DALI together with pending freight.

         4.    Claimants be awarded its damages, with interest thereon, plus the costs of these

proceedings, attorneys’ fees and interest; and

         5.    This Court grant such other and further relief as may be just and equitable.

                                              Respectfully Submitted,



                                                              /s/
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                                              Attorneys for Claimant
                                              MSC Mediterranean Shipping Company S.A. and
                                              MSC Mediterranean Shipping Company Holding S.A.
                                              with respect to its property onboard the M/V DALI
                                              that was insured by TT Club Mutual Insurance Ltd.

                                              *Motions for admission pro hac vice forthcoming

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                                 CERTIFICATE OF SERVICE


       I hereby certify that on this 24th day September 2024 a copy of the foregoing was served on

all counsel who have appeared in this case, including counsel of record for Petitioners, via the ECF

system.



                                                     _______________/s/______________
                                                     Priscilla A. Donovan




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